Case 2:21-cv-05663-RSWL-AFM Document 29 Filed 12/07/21 Page 1 of 1 Page ID #:140



     1   Russell S. Thompson, IV (029098)                        JS6
     2   Thompson Consumer Law Group, PC
         11445 E Via Linda, Ste 2#492
     3
         Scottsdale, AZ 85259
     4   Telephone: (602) 388-8898
     5
         Facsimile: (866) 317-2674
         rthompson@ThompsonConsumerLaw.com
     6   Attorneys for Plaintiff
     7

     8
                             UNITED STATES DISTRICT COURT
     9                      CENTRAL DISTRICT OF CALIFORNIA
    10
         Varinder Mohan,                        ) Case No. Case No. 21-5663
    11                                          )
    12   Plaintiff,                             ) ORDER GRANTING STIPULATION
                                                ) OF DISMISSAL WITH PREJUDICE
    13
                vs.                             )
    14                                          )
         Gentry’s Walk Apartments AZ LLC,)
    15
         Rent Recovery Solutions, LLC,          )
    16   and Equifax Information Services, LLC, )
    17
                                                )
         Defendants.                            )
    18

    19

    20

    21         7he Stipulation of Dismissal >@ is GRANTED. 7KLV DFWLRQ LV GLVPLVVHG
    22   ZLWK SUHMXGLFH 7KH FOHUN VKDOO FORVH WKLV DFWLRQ
    23

    24   Dated: 12/7/2021
    25

    26
                              s/ RONALD S.W. LEW
                             ________________________________
    27
                             +RQ 5RQDOG 6: /HZ
    28                       86 'LVWULFW -XGJH



                                               1
